
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida In*434dustrial Commission bearing date October 25, 1967.
We find that oral argument would serve no useful purpose and it is, therefore, dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is, therefore, denied.
Petition for attorneys’ fees is granted in the amount of $250.
It is so ordered.
ROBERTS, Acting C. J., and DREW, THORNAL, ERVIN and ADAMS, JJ., concur.
